Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 1 of 20 PageID #: 397




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

 SYED ALI                                                                               Plaintiff

 v.                                                        Civil Action No. 3:17-cv-00638-RGJ

 UNIVERSITY OF LOUISVILLE, ET AL.                                                    Defendants

                                           * * * * *

                         MEMORANDUM OPINION AND ORDER

       Plaintiff Syed Ali brings this action against Defendants University of Louisville (the

“University”), Dr. Marcia Hern, Dr. Angela Calloway, and Katherine Weckman alleging

violations of Title IX of the Educational Amendments Act of 1972 (20 U.S.C. § 1681 et seq.), Title

VI of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq.), the Age Discrimination Act of

1975 (42 U.S.C. § 6101 et seq.), the Fifth and Fourteenth Amendments to the United States

Constitution (42 U.S.C. § 1983), breach of contract, defamation, and intentional infliction of

emotional distress (“IIED”). [DE 1-2, Compl.]. Defendants now move to dismiss all claims under

Federal Rule of Civil Procedure 12(b)(6). [DE 7, Univ. First MTD; DE 10, Weck. First MTD; DE

34, Univ. Second MTD; DE 36, Weck. Second MTD]. The matter is fully briefed and ripe for

judgment. [See DE 38, Resp. Univ. MTD; DE 39, Resp. Weck. MTD; DE 40, Weck. Reply].

       Having considered the parties’ filings and the applicable law, the Court GRANTS the

University’s, Dr. Hern’s, and Dr. Calloway’s Second Motion to Dismiss [DE 34] and DENIES

AS MOOT the University’s, Dr. Hern’s, and Dr. Calloway’s First Motion to Dismiss [DE 7]. The

Court declines to exercise supplemental jurisdiction on Ali’s remaining state-law claims against

Weckman. Weckman’s First and Second Motions to Dismiss [DE 7; DE 36] are therefore

DENIED AS MOOT, and the case is REMANDED to state court.



                                                1
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 2 of 20 PageID #: 398




                                        BACKGROUND

       The following facts are set out in the Complaint and accepted as true for purposes of

Defendants’ Motions. See Davis v. Prison Health Servs., 679 F.3d 433, 440 (6th Cir. 2012).

       Beginning in 2015, Ali was a student at the University of Louisville School of Nursing.

[DE 32, Am. Compl. at ¶ 11]. On September 19, 2016, Ali was arrested for two counts of sexual

misconduct with a minor under the age of 12 and one count of distribution of obscene material to

a minor under the age of 12. Id. at ¶ 12. Following Ali’s arrest, Dr. Hern, Dean of the School of

Nursing, placed Ali on interim suspension for potential violations of the University Code of

Student Conduct. Id. at ¶ 17; [DE 9-1, Interim Suspension Letter]. The University also claimed

that Ali failed to complete a background check required for admission. [DE 7-1, Univ.’s Motion

to Dismiss at 40]. Ali contends that he did not violate the Code of Student Conduct and complied

with all admissions requirements, including the background check. [DE 32 at ¶ 11]. Ali then

completed a background check at the University’s request but voluntarily remained on suspension.

[DE 7 at 40; DE 9-1; DE 32 at ¶ 21].

       On December 1, 2016, Ali alleged that Dr. Calloway, a clinical professor at the University,

violated his rights under the Family Educational Rights and Privacy Act (“FERPA”) by discussing

his case in her classes. [DE 32 at ¶ 23]. The University held a hearing on Ali’s grievance and

determined that Dr. Calloway had not violated Ali’s rights. Id. at ¶ 25. In May 2017, Ali

complained to the University that another student, Katherine Weckman, violated Ali’s rights under

Title IX during the discussions in Dr. Calloway’s classes by claiming that she “knew” Ali was a

“pedophile.” Id. at ¶ 26. The University determined that Weckman’s conduct did not implicate

Title IX and informed Ali that it would not hold a hearing on his complaint. Id. at ¶ 27.




                                                2
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 3 of 20 PageID #: 399




       Ali filed this civil action under the pseudonym “John Doe” in Jefferson County Circuit

Court on September 25, 2017. Id. The state court declined Ali’s request for a protective order to

allow him to proceed as “John Doe.” [DE 1-2; DE 25-1 at 272]. On October 17, 2017, Defendants

removed the action to this Court. [DE 1, Not. Removal]. Defendants moved to dismiss the action

under Federal Rule of Civil Procedure 12(b)(6). [DE 7; DE 10]. Ali then moved for leave to

proceed as “John Doe” and to seal or remove his name from all documents. [DN 13]. The Court

denied Ali’s request and ordered Ali to file an amended complaint using his full name [DE 28; DE

29], which Ali did on July 18, 2018 [DE 32]. Defendants then filed updated Motions to Dismiss.

[DE 34; DE 36]. Timely responses and replies were filed. [See DE 38; DE 39; DE 40].

                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(6) requires a court to dismiss a complaint if the

complaint “fail[s] to state a claim upon which relief can be granted[.]” Fed. R. Civ. P. 12(b)(6).

To properly state a claim, a complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief[.]” Fed. R. Civ. P. 8(a)(2). When considering a motion

to dismiss, courts must presume all factual allegations in the complaint to be true and make all

reasonable inferences in favor of the non-moving party. Total Benefits Planning Agency, Inc. v.

Anthem Blue Cross & Blue Shield, 552 F.3d 430, 434 (6th Cir. 2008) (citation omitted). “But the

district court need not accept a bare assertion of legal conclusions.” Tackett v. M & G Polymers,

USA, LLC, 561 F.3d 478, 488 (6th Cir. 2009) (citation omitted). “A pleading that offers labels and

conclusions or a formulaic recitation of the elements of a cause of action will not do. Nor does a

complaint suffice if it tenders naked assertion[s] devoid of further factual enhancement.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (internal citation and quotation marks omitted).




                                                 3
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 4 of 20 PageID #: 400




       To survive a motion to dismiss under Rule 12(b)(6), the plaintiff must allege “enough facts

to state a claim to relief that is plausible on its face.” Traverse Bay Area Intermediate Sch. Dist.

v. Mich. Dep’t of Educ., 615 F.3d 622, 627 (6th Cir. 2010) (internal quotation marks omitted)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim becomes plausible “when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S.

at 556). “A complaint will be dismissed pursuant to Rule 12(b)(6) if no law supports the claims

made, if the facts alleged are insufficient to state a claim, or if the face of the complaint presents

an insurmountable bar to relief.” Southfield Educ. Ass’n v. Southfield Bd. of Educ., 570 F. App’x

485, 487 (6th Cir. 2014) (citing Twombly, 550 U.S. at 561–64).

                                           DISCUSSION

A. Procedural Due Process

       First, Ali claims that the University violated his due-process rights as guaranteed by the

Fifth and Fourteenth Amendments to the United States Constitution by failing to follow its own

published policies and procedures when responding to the allegations against Ali. [DE 32 at ¶¶

34–35].   Ali seeks both damages related to his suspension under 42 U.S.C. § 1983 and

reinstatement into the Nursing Program. Id. at ¶¶ 38–39; see Wurzelbacher v. Jones-Kelley, 675

F.3d 580, 583 (6th Cir. 2012) (holding that a plaintiff who seeks to recover damages for violation

of his constitutional rights must bring his action under 42 U.S.C. § 1983).

       In response, the University asserts that the Eleventh Amendment protects it from suit. The

Eleventh Amendment stipulates that a state and its agencies may not be sued in federal court,

regardless of the relief sought, unless the state has waived its immunity or Congress has overridden

it. P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993). Eleventh



                                                  4
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 5 of 20 PageID #: 401




Amendment immunity can only be waived if (1) the state consents to suit; (2) the Ex parte Young,

209 U.S. 123 (1908), exception applies; or (3) Congress has abrogated a state’s Eleventh

Amendment immunity. Kovacevich v. Kent State Univ., 224 F.3d 806, 817 (6th Cir. 2000) (citing

Nelson v. Miller, 170 F.3d 641, 646 (6th Cir. 1999)).

        “The University of Louisville is a state agency cloaked with Eleventh Amendment

immunity.” Graham v. Nat’l Collegiate Athletic Ass’n, 804 F.2d 953, 960 (6th Cir. 1986) (citing

Martin v. Univ. of Louisville, 541 F.2d 1171, 1174 (6th Cir. 1976)); see also Hutsell v. Sayre, 5

F.3d 996, 999 (6th Cir. 1993) (noting that public universities in Kentucky and their directors are

state agencies and officials for Eleventh Amendment purposes). It is well settled that Kentucky

has not consented to waive its Eleventh Amendment immunity. Adams v. Morris, 90 F. App’x

856, 857 (6th Cir. 2004) (citing Whittington v. Milby, 928 F.2d 188, 193 (6th Cir. 1991)). Further,

the Ex parte Young exception only allows suits seeking prospective injunctive relief against college

administrators, professors, and other state officials acting in their official and individual capacities.

Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 641 (6th Cir. 2005). It does not affect the Eleventh

Amendment’s prohibition on suing state entities themselves. Id. Finally, the Sixth Circuit has

found that Congress did not intend for Section 1983 to override states’ immunity under the

Eleventh Amendment. See Whittington, 928 F.2d at 193. Accordingly, the Eleventh Amendment

prohibits Ali from seeking damages under Section 1983 or asserting a due-process claim against

the University, and Ali’s due-process claim against the University is dismissed.

        However, it is unclear from Ali’s Complaint whether he asserts his due-process claim only

against the University itself—which, as discussed above, the Eleventh Amendment prohibits—or

against both the University and Dr. Hern, who suspended Ali in her role as dean of the School of

Nursing. [DE 32 at ¶¶ 15, 34–35]. Because the Court must make all reasonable inferences in Ali’s



                                                   5
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 6 of 20 PageID #: 402




favor when considering Defendants’ Motions to Dismiss, the Court will construe Ali’s Complaint

as asserting his due-process claim against both the University and Dr. Hern in her official capacity

as dean. Total Benefits Planning Agency, Inc., 552 F.3d at 434. And while the Eleventh

Amendment prohibits Ali from proceeding against the University with his due-process claim, it

does not bar his claim against Dr. Hern as it relates to Ali’s reinstatement into the Nursing Program.

Flaim, 418 F.3d at 637 n. 4 (noting that the Eleventh Amendment did not prohibit Flaim’s claim

against state officials in their official capacities for prospective injunctive relief requiring his

readmittance to medical school).

        A plaintiff claiming violation of his procedural due-process rights must allege facially

plausible facts showing that (1) he had a fundamental liberty or property interest (2) that was

deprived without sufficient notice or opportunity to be heard. Bd. of Regents of State Colls. v.

Roth, 408 U.S. 564, 572–73 (1972). Ali’s Complaint cites four separate instances where he was

allegedly denied due process: (1) Ali’s grievance hearing relating to the complaint that he filed

against Dr. Calloway; (2) the University’s decision not to hold a hearing on Ali’s Title IX

complaint against Weckman; (3) Dr. Hern’s letter to Ali stating that Ali needed to complete a

criminal background check; and (4) Ali’s interim suspension following his criminal charges for

sexual misconduct with a minor. [DE 32 at ¶ 34].

        Of these four instances, Dr. Hern was involved only in the decision to suspend Ali from

the Nursing Program.1 Courts have consistently held that higher-education disciplinary decisions


1
  Although Dr. Hern’s letter regarding the background check involves actions by Dr. Hern, Ali has not
pleaded facts to indicate that Dr. Hern’s letter amounts to denial of due process. Indeed, the background
check appears wholly unrelated to the matter at issue. While Ali suggests that the background check was
put forward as a justification for Ali’s suspension [DE 32 at ¶¶ 15–16], the Interim Suspension Letter makes
no reference to the background check and instead alleges that Ali violated various enumerated provisions
of the Code of Student Conduct [DE 9-1]. Further, Ali completed the required criminal background check
but remains suspended. [DE 32 at ¶ 21]. Thus, Ali’s completion of the background check had no bearing
on the outcome of his interim suspension and is irrelevant to his due-process claims.
                                                     6
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 7 of 20 PageID #: 403




implicate due process. See, e.g., Goss, 419 U.S. at 575 (liberty and property interest implicated in

high-school suspension); Board of Regents, 408 U.S. at 564; Doe v. Univ. of Cincinnati, 872 F.3d

393, 399 (6th Cir. 2017) (“Suspension clearly implicates a protected property interest, and

allegations of sexual assault may impugn a student’s reputation and integrity, thus implicating a

protected liberty interest.”); Flaim, 418 F.3d 629, 634 (6th Cir. 2005); Gorman v. Univ. of R.I., 837

F.2d 7, 12 (1st Cir. 1988) (a student’s interest “in pursuing an education is included within the

fourteenth amendment’s protection of liberty and property”).

         “Once it is determined that due process applies, the question remains what process is

due.” Morrissey v. Brewer, 408 U.S. 471, 481 (1972). “The ‘right to be heard before being

condemned to suffer grievous loss of any kind, even though it may not involve the stigma and

hardships of a criminal conviction, is a principle basic to our society.’” Mathews v. Eldridge, 424

U.S. 319, 333 (1976) (quoting Anti-Fascist Comm. v. McGrath, 341 U.S. 123, 168 (1951)

(Frankfurter, J., concurring)). “Due process . . . is not a fixed or rigid concept, but, rather, is a

flexible standard which varies depending upon the nature of the interest affected, and the

circumstances of the deprivation.” Gorman, 837 F.2d at 12; see also Flaim, 418 F.3d at 634. “At

a minimum, a student facing suspension is entitled to the opportunity to be heard at a meaningful

time and in a meaningful manner.” Univ. of Cincinnati, 872 F.3d at 399 (internal citations and

quotation marks omitted). And “[w]hile the exact outlines of process may vary, universities must

‘at least’ provide notice of the charges, an explanation of the evidence against the student, and an

opportunity to present his side of the story before an unbiased decision maker.” Id. (citing Heyne

v. Metro. Nashville Pub. Sch., 655 F.3d 556, 565–66 (6th Cir. 2011)). A student’s opportunity to

share his version of events must occur at “some kind of hearing,” Goss, 419 U.S. at 579, even

though     that   hearing   need   not   “take   on    ...   [the]   formalities”   of   a   criminal



                                                 7
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 8 of 20 PageID #: 404




trial, Flaim, 418 F.3d at 635. Indeed, the Supreme Court “consistently has held that some form of

hearing is required before an individual is finally deprived of a property interest.” Mathews, 424

U.S. at 333 (collecting cases).

        To support his due-process claim, Ali asserts that the University has “repeatedly” denied

his request for a hearing regarding his suspension. [DE 32 at ¶¶ 19–21; DE 38-1 at 363–64]. But

this is not supported by the pleadings. On September 20, 2016, the University noted in Ali’s

Interim Suspension Letter that “[a]ny student who has had interim action taken against him/her

will be afforded an Administrative Conduct Meeting or a Conduct Hearing, as soon as it is

practical.” [DE 9-1]. The Letter also informed Ali that “[u]pon receipt of this letter, you must

contact the Dean of Students . . . to schedule a meeting time to review hearing procedures and your

rights and responsibilities under the Code of Student Conduct.” Id. But rather than schedule the

meeting, Ali responded that he “believe[d] [he] should remain on suspension for the remainder of

[his] legal case.” [DE 9-2, Ali Letter]. Ali thus received “notice of the charges against” him, “an

explanation of the evidence against” him, and “an opportunity to present his side of the story before

an unbiased decision maker.” Univ. of Cincinnati, 872 F.3d at 399. Ali’s decision to postpone the

hearing and remain on suspension until after his legal case concluded, and the University’s

decision to honor that request, in no way violates due process. Accordingly, even taking all factual

allegations in the Complaint as true and making all reasonable inferences in Ali’s favor, Ali fails

to state a claim for due process. His claim is therefore dismissed.2



2
  Further, Ali claims that the University violated the Kentucky Constitution when it suspended him from
the Nursing Program. [DE 34 at ¶ 34]. Ali also cites the Kentucky Constitution to support his state-law
discrimination and breach-of-contract claims. Id. at ¶¶ 20, 32. Ali does not cite any specific provisions of
the Kentucky Constitution that he believes were violated. However, the Supreme Court of Kentucky has
explicitly rejected the notion that violations of the Kentucky Constitution give rise to a claim for damages.
St. Luke Hosp., Inc. v. Straub, 354 S.W.3d 529, 533–34 (Ky. 2011). Thus, Ali’s claims under the Kentucky
Constitution are dismissed to the extent they seek monetary damages.
                                                     8
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 9 of 20 PageID #: 405




B. Title IX: Hostile Environment and Discrimination

       Next, Ali claims that he was subjected to a hostile environment under Title IX of the

Educational Amendments Act of 1972 when the University “fail[ed] to protect his privacy,

permit[ted] defamatory comments . . . which amounted to school-sanctioned harassment, to stand,

by suspending him without due process, by failing to follow its own procedures[.]” [DE 32 at ¶

36]. Ali also brings a Title IX claim based on discrimination, asserting that “the ratio of males to

females is extremely low” at the School of Nursing, and thus Ali is a member of a protected class.

Id. at ¶ 31. Congress has abrogated the States’ Eleventh Amendment immunity for purposes of

Title IX. See Lane v. Pena, 518 U.S. 187, 198 (1996).

       To proceed on a Title IX claim against an educational institution, a plaintiff must establish

a prima facie case by showing that: (1) he was subjected to quid pro quo sexual harassment or a

sexually hostile environment; (2) he provided actual notice of the situation to an “appropriate

person,” who was, at a minimum, an official of the educational entity with authority to take

corrective action and to end discrimination; and (3) the institution’s response to the harassment

amounted to “deliberate indifference.” Klemencic v. Ohio State Univ., 263 F.3d 504, 510 (6th Cir.

2001). Further, a plaintiff must produce evidence that his educational experience was “‘permeated

with discriminatory intimidation, ridicule and insult that [was] sufficiently severe or pervasive to

alter the conditions’ of [his] education and create a sexually hostile environment.” Johnson v.

Galen Health Institutes, Inc., 267 F. Supp. 2d 679, 685 (W.D. Ky. 2003) (quoting Harris v. Forklift

Sys., Inc., 510 U.S. 17, 21 (1993)). The behavior must be based on sex, rather than personal animus

or other reasons. Id. (citing Frazier v. Fairhaven Sch. Comm., 276 F.3d 52, 66 (1st Cir. 2002)).

       In this case, Ali fails to establish a prima facie case of a hostile environment or

discrimination under Title IX. Specifically, Ali’s Complaint fails to put forward any facts to



                                                 9
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 10 of 20 PageID #: 406




suggest that the University’s conduct was connected to his sex. Ali does not allege that either Dr.

Calloway’s discussion of Ali’s case in her classes or Weckman’s statement that she “knew that

[Ali] was a pedophile” was in any way related to Ali’s sex. Nor does Ali put forth any facts to

suggest that the University’s decision not to follow the Code of Student Conduct was related to

his sex. Instead, without discussing sex at all, Ali states that the University’s failure to protect his

privacy and failure discipline its employees and Weckman “amounted to school-sanctioned

harassment.” [DE 32 at ¶ 36]. Ali thus fails to produce evidence that the allegedly adverse actions

were based on sex rather than personal animus or some other reason.

       But even construing Ali’s Complaint as asserting that these actions occurred because of his

sex, the actions do not constitute a hostile environment or discrimination under Title IX as a matter

of law. Indeed, courts have consistently dismissed claims involving comparably hostile conduct.

See, e.g., Doe v. Miami Univ., 882 F.3d 579, 590 (6th Cir. 2018) (affirming the district court’s

grant of summary judgment on plaintiff’s hostile-environment claim because the plaintiff’s

allegations of gender bias in Miami University’s sexual-assault disciplinary process failed to show

that the plaintiff’s experience was “permeated with discriminatory intimidation, ridicule, and

insult”); Doe v. Univ. of Dayton, No. 3:17-CV-134, 2018 WL 1393894, at *8 (S.D. Ohio Mar. 20,

2018) (dismissing the plaintiff’s hostile-environment claim because the plaintiff did not allege

facts to show that his experience was permeated with discrimination); Klemencic v. Ohio State

Univ., 10 F. Supp. 2d 911 (S.D. Ohio 1998), aff’d, 263 F.3d 504 (6th Cir. 2001) (finding that a

coach did not create a hostile environment by asking the student to go out with him and sending

her a sexually suggestive magazine article because the acts were not severe or pervasive). Thus,

even taking all factual allegations in the Complaint as true and making all reasonable inferences

in Ali’s favor, Ali fails to state a claim under Title IX. Those claims are therefore dismissed.



                                                  10
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 11 of 20 PageID #: 407




C. Title VI: Discrimination

       Ali also brings a claim against the University for discrimination under Title VI of the Civil

Rights Act of 1964, asserting that he was subject to adverse actions because of his Iranian heritage.

[DE 32 at ¶ 32]. Congress has abrogated the States’ Eleventh Amendment immunity for purposes

of Title VI. See Lane, 518 U.S. at 198.

       Title VI prohibits discrimination “on the ground of race, color, or national origin” in “any

program or activity receiving Federal financial assistance.” 42 U.S.C. § 2000d. A Title VI claim

requires the plaintiff to allege intentional discrimination. Alexander v. Sandoval, 532 U.S. 275,

281 (2001). The plaintiff must present either direct or indirect evidence of racial discrimination.

Paasewe v. Ohio Arts Council, 74 F. App’x 505, 507 (6th Cir. 2003). Direct evidence generally

requires unmistakable assertions that the plaintiff was treated adversely because of his race. Smith

v. Chrysler Corp., 155 F.3d 799, 805 (6th Cir. 1998).

       Where a plaintiff seeks to prove discrimination through indirect evidence, courts apply

the McDonnell Douglas burden shifting framework. See McDonnell Douglas Corp. v. Green, 411

U.S. 792, 802 (1973), holding modified by Hazen Paper Co. v. Biggins, 507 U.S. 604 (1993).

Under this framework, a plaintiff must first establish a prima facie case of discrimination.

Paasewe, 74 F. App’x at 508. To establish a prima facie case, the plaintiff must show: (1) that he

is a member of a protected class; (2) that he met the defendant’s legitimate expectations; (3) that

he suffered an adverse decision; and (4) that similarly situated, non-protected individuals were

treated more favorably. Id. Once the plaintiff has established a prima facie case, the burden shifts

to the defendant to establish a legitimate, non-discriminatory reason for the action. Id. If this

burden is met, the burden again shifts to the plaintiff to establish that the defendant’s reason is

mere pretext. Plant v. Morton Int’l, Inc., 212 F.3d 929, 936 (6th Cir. 2000).



                                                 11
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 12 of 20 PageID #: 408




       At the pleading stage, a plaintiff is not required to have “adequately alleged a prima facie

case” or “circumstances that support an inference of discrimination.” Swierkiewicz v. Sorema N.

A., 534 U.S. 506, 510 (2002). Instead, a plaintiff need only “set forth plausible claims.” Khalik v.

United Air Lines, 671 F.3d 1188, 1194 (10th Cir. 2012). And because McDonnell Douglas is an

evidentiary rather than a pleading standard, a plaintiff need not satisfy the elements of the

framework to survive a motion to dismiss. Swierkiewicz, 534 U.S. at 510–11. However, assessing

the elements of the McDonnell Douglas framework is helpful in determining whether a plaintiff

has set forth plausible claims. Khalik, 671 F.3d at 1192.

       In this case, Ali’s Complaint does not contend that anyone made comments about his

Iranian heritage. Ali thus fails to state a claim for direct discrimination under Title VI. Chrysler

Corp., 155 F.3d at 805. Further, the McDonnell Douglas framework makes clear that Ali has not

set forth plausible claims under Title VI. Most notably, Ali fails to allege a causal connection

between his protected status and the allegedly adverse actions. Instead, Ali merely notes his

Iranian heritage to establish that he belongs to a protected class. [DE 32 at ¶ 32]. Ali also has not

alleged that non-Iranian students were afforded more favorable treatment. Courts have routinely

dismissed claims at the pleading stage for similar infirmities. See, e.g., Ctr. for Bio-Ethical

Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011) (holding that the plaintiff failed to

allege that the defendants’ adverse action was motivated by the plaintiff’s constitutionally

protected activity); Henderson v. JP Morgan Chase Bank, N.A., 436 F. App’x 935, 938 (11th Cir.

2011) (finding no plausible inference of racial discrimination where plaintiff “alleged only that

she was black, she was pre-qualified for a loan, the terms of the loan changed through the

application process, and she ultimately rejected the loan after her lawyer told her the terms were

improper.”); Shahmaleki v. Kan. State Univ., 147 F. Supp. 3d 1239, 1244 (D. Kan. 2015)



                                                 12
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 13 of 20 PageID #: 409




(dismissing the plaintiff’s Title VI claims because the complaint contained only conclusions; failed

to allege “that the non-Iranian students who were afforded appeals were similarly situated to him,

or provide any details as to who these students were”; and did not provide facts about the specific

policies and procedures that were generally available but were not offered to him); Kim v. Grand

Valley State Univ., No. 1:11-CV-233, 2012 WL 1032704, at *3 (W.D. Mich. Mar. 27,

2012), aff’d (6th Cir. 12-401) (Feb. 11, 2013) (holding that dismissal was appropriate because the

plaintiff’s “Title VI claim relie[d] entirely on conclusory allegations to establish discriminatory

animus.”).

       Where, as here, “a complaint pleads facts that are ‘merely consistent with’ a defendant’s

liability, it ‘stops short of the line between possibility and plausibility of entitlement to

relief.’” Iqbal, 566 U.S. at 677 (quoting Twombly, 550 U.S. at 557 (internal quotation marks

omitted)). For these reasons, Ali fails to state a claim for relief under Title VI, and that claim is

dismissed.

D. Age Discrimination Act of 1975

       Next, Ali brings a claim against the University for discrimination under the Age

Discrimination Act of 1975 (“ADA”) because Ali was 41 years of age at the time of his suspension.

[DE 32 at ¶ 33]. Congress has abrogated the States’ Eleventh Amendment immunity for purposes

of the ADA. See Lane, 518 U.S. at 198.

       The ADA requires a would-be plaintiff to exhaust his administrative remedies before filing

suit. 42 U.S.C. § 6104(e)(2) (“No action . . . shall be brought . . . if administrative remedies have

not been exhausted.”). “[A]dministrative remedies shall be deemed exhausted upon the expiration

of 180 days from the filing of an administrative complaint during which time the Federal

department or agency makes no finding with regard to the complaint, or upon the day that



                                                 13
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 14 of 20 PageID #: 410




the Federal department or agency issues a finding in favor of the recipient of financial assistance,

whichever occurs first.” Id. at § 6104(f). “In order for the district court to have jurisdiction under

the ADA, plaintiffs must exhaust their administrative remedies.” Simmons v. Middle Tenn. State

Univ., 117 F.3d 1421 (6th Cir. 1997) (per curiam) (table); see also Williams v. Trevecca Nazarene

Coll., 162 F.3d 1162 (6th Cir. 1998) (table). And the plaintiff “must allege that he filed an age

discrimination complaint with the appropriate agency and that either 180 days elapsed with no

finding or the agency issued a finding against” the plaintiff. Id. Otherwise, the ADA claim is not

properly before the district court, and that court must dismiss the claim for lack of jurisdiction. Id.

       Ali’s Complaint contains no allegation that Ali has exhausted his administrative remedies.

Accordingly, the Court lacks jurisdiction over Ali’s ADA claim, and that claim is dismissed.

E. State-law Claims: Breach of Contract, Defamation, and IIED

       1. The University, Dr. Hern, and Dr. Calloway

       Ali brings three claims against the University and its employees, Dr. Hern and Dr.

Calloway, under Kentucky Law. First, Ali alleges that the University and its employees defamed

Ali’s character by making statements about him during Dr. Calloway’s class. [DE 32 at ¶ 29–30].

Second, Ali alleges that the University, through Dr. Hern and Dr. Calloway, intentionally inflicted

emotional distress on Ali. Id. at ¶ 37. Finally, Ali alleges that the University breached its contract

with Ali when it failed to follow its policies and procedures set out in the Student Handbook and

incorporated Code of Student Conduct. Id. at ¶ 28. The University responds to all three claims by

arguing that it and its employees are immune from suit under Kentucky law. [DE 7-1 at 44–50].

       Immunity “is an inherent attribute of a sovereign state that precludes the maintaining of

any suit against the state unless the state has given its consent or otherwise waived its immunity.”

Yanero v. Davis, 65 S.W.3d 510, 517 (Ky. 2001); see also Alden v. Me., 527 U.S. 706, 755 (1999).



                                                  14
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 15 of 20 PageID #: 411




The University is a state agency entitled to governmental immunity, which is an extension of the

Commonwealth’s sovereign immunity. Graham, 804 F.2d at 960; Univ. of Louisville v. Rothstein,

532 S.W.3d 644, 647 (Ky. 2017). A waiver of sovereign immunity will be found “only where

stated by the most express language or by such overwhelming implications from the text as will

leave no room for any other reasonable construction.” Id. at 346 (citing Murray v. Wilson

Distilling Co., 213 U.S. 151, 169 (1909)). “Once it has been determined that an entity is entitled

to sovereign immunity, [courts] ha[ve] no right to merely refuse to apply it or abrogate the legal

doctrine.” Id. at 344 (citations omitted).

       Ali’s defamation and IIED claims arise under tort law. The doctrine of sovereign immunity

extends to tort claims. Univ. of Louisville v. Martin, 574 S.W.2d 676, 677 (Ky. Ct. App. 1978)

(citing Foley Const. Co. v. Ward, 375 S.W.2d 392 (Ky. 1963); All-Am. Movers, Inc. v. Kentucky

ex rel. Hancock, 552 S.W.2d 679 (Ky. Ct. App. 1977)). The Kentucky General Assembly has

never expressly stated or otherwise suggested that it intended to waive sovereign immunity for tort

claims against governmental institutions, including public universities. Faced with such claims,

courts have found that no waiver exists. See, e.g., Tinch v. Jefferson Cty. Pub. Sch. Sys., No. 3:12-

CV-844-DJH, 2016 WL 1574149, at *4 (W.D. Ky. Apr. 19, 2016) (dismissing a defamation claim

under Kentucky law because sovereign immunity had not been waived); Wardle v. Lexington-

Fayette Urban Cty. Gov’t, No. 2005-CA-001296-MR, 2006 WL 2788951, at *4 (Ky. Ct. App.

Sept. 29, 2006) (affirming summary judgment dismissing an IIED claim because sovereign

immunity had not been waived). Accordingly, Ali’s state-law tort claims against the University

are barred by sovereign immunity and therefore dismissed.

       Ali’s IIED claims against Dr. Hern and Dr. Calloway and defamation claim against Dr.

Calloway fail for similar reasons. Ali brings his claims against Dr. Hern and Dr. Calloway in their



                                                 15
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 16 of 20 PageID #: 412




official capacities at the University. [DE 32 at ¶¶ 3–4]. “‘Official immunity’ is immunity from

tort liability afforded to public officers and employees for acts performed in the exercise of their

discretionary functions.” Yanero, 65 S.W.3d at 521. When a governmental employee is sued in

her official capacity, her actions are included under the umbrella of sovereign immunity

and afforded the same immunity, if any, to which the agency itself would be entitled. Id.; Cady v.

Arenac Cty., 574 F.3d 334, 342 (6th Cir. 2009) (citing Kentucky v. Graham, 473 U.S. 159 (1985)).

Because the University is entitled to immunity and Ali sues Dr. Hern and Dr. Calloway in their

official capacities, Dr. Hern and Dr. Calloway are afforded the same immunity as the University.

Accordingly, Ali’s defamation and IIED claims against them are likewise dismissed.

       Unlike tort claims, however, the General Assembly has waived immunity for contract

claims under a narrow set of circumstances pursuant to the Model Procurement Code. Specifically,

immunity is waived when there is a “lawfully authorized written contract” with the

Commonwealth. KRS 45A.245. Ali does not assert that the Student Handbook and incorporated

Code of Student Conduct are express contracts. Rather, he argues that they constitute an implied

contract between students and the University. [DE 38 at 373].

       In similar cases, courts have found that student handbooks do not constitute express written

contracts for immunity purposes. In Green v. Sandy, the plaintiff attempted to bring a breach-of-

contract claim against Eastern Kentucky University (“EKU”) for violating its Student Athlete

Handbook. No. 5:10-CV-367-JMH, 2011 WL 4688639, at *4 (E.D. Ky. Oct. 3, 2011). The court

rejected the claim and noted that it was not “immediately persuaded that the handbook could ever

be understood as a contract. It is a unilateral policy manual which states that EKU ‘reserves the

right to alter, amend or modify this handbook at any time without prior notice.’” Id. The court

went on to compare the EKU Student Athlete Handbook to handbooks in the employment context,



                                                16
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 17 of 20 PageID #: 413




which, to constitute a contract, must contain specific language showing the institution’s intent to

be bound by the handbook’s provisions. Id. (citing Brown v. City of Niota, Tenn., 214 F.3d 718,

721 (6th Cir. 2000)). See also Furtula v. Univ. of Ky., 438 S.W.3d 303, 307 (Ky. 2014), as

modified (June 23, 2014) (rejecting two University of Kentucky (“UK”) employees’ allegation that

UK breached a contract by rejecting the employees’ applications for disability benefits because

“even if the documents gave rise to an implied contract, the claims would not be allowed because

the state’s immunity was waived under KRS 45A.245 only for written contracts.”).

        In this case, as in Green and Furtula, the University’s Student Handbook and incorporated

Code of Student Conduct do not create an express written contract. Ali has not put forth any

evidence demonstrating that the University intended to be bound by the documents’ provisions,

and thus the Student Handbook is better understood as a unilateral policy manual like EKU’s

Student Athlete Handbook and UK’s Staff Handbook. Further, even if Ali were correct that the

Student Handbook gives rise to an implied contract, the Supreme Court of Kentucky has made

clear that the Commonwealth’s immunity has been waived under KRS 45A.245 only for written

contracts. Furtula, 438 S.W.3d at 307. For these reasons, Kentucky has not waived its sovereign

immunity protections under the Kentucky Constitution, and Ali’s breach-of-contract claim is

dismissed.3

        2. Weckman

        Ali also brings defamation and IIED claims against Weckman pursuant to Kentucky Law.

Ali alleges that Weckman made defamatory statements against Ali and intentionally caused Ali




3
 Even if KRS 45A.245 stripped the University of immunity in this case, KRS 45A.245 stipulates that “[a]ny
such action shall be brought in the Franklin Circuit Court and shall be tried by the court sitting without a
jury.” Thus, any such claim would not be properly before the Court. See Furtula, 438 S.W.3d at 307; Univ.
of Louisville v. Martin, 574 S.W.2d 676, 679 (Ky. Ct. App. 1978)).
                                                    17
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 18 of 20 PageID #: 414




emotional distress when Weckman said that she “knew” Ali was a “pedophile” in Dr. Calloway’s

classes. [DE 32 at ¶¶ 26, 29–30].

       As outlined above, all federal claims against the University, Dr. Hern, and Dr. Calloway

will be dismissed. Ali does not bring any federal claims against Weckman, a fellow student at the

School of Nursing. Id. at ¶ 5. Because all federal claims will be dismissed, this Court lacks federal-

question jurisdiction pursuant to 28 U.S.C. § 1331 and must determine whether to maintain

supplemental jurisdiction over Ali’s claims against Weckman or remand them back to state court.

       “When all federal claims are dismissed before trial, the balance of considerations usually

will point to dismissing the state law claims, or remanding them to state court if the action was

removed.” Musson Theatrical, Inc. v. Fed. Exp. Corp., 89 F.3d 1244, 1254–55 (6th Cir. 1996); see

also 28 U.S.C. § 1367(c)(3) (stating that a district court may decline to exercise supplemental

jurisdiction if it has “dismissed all claims over which it ha[d] original jurisdiction”). But there are

circumstances where a district court should retain supplemental jurisdiction even if all underlying

federal claims have been dismissed. In determining whether to retain jurisdiction, a district court

should consider and weigh several factors, including the “values of judicial economy, convenience,

fairness, and comity.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988); see also

Landefeld v. Marion Gen. Hosp., Inc., 994 F.2d 1178, 1182 (6th Cir. 1993).

       In this case, the values of judicial economy, convenience, fairness, and comity all weigh in

favor or remanding the remaining claims to state court. First, this litigation is still in its early

stages, with discovery incomplete and this Court having not invested significant time in the

litigation. Nor does the Court anticipate an “undue amount of wasted or duplicative effort that will

result from having to re-file . . . in state court.” DePiero v. City of Macedonia, 180 F.3d 770, 790

(6th Cir. 1999).    Judicial economy would thus not be served by exercising supplemental



                                                  18
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 19 of 20 PageID #: 415




jurisdiction over the remaining state-law claims. Gamel v. City of Cincinnati, 625 F.3d 949, 953

(6th Cir. 2010). Second, the risk of inconvenience is negligible. All necessary parties will remain

parties before the state court on remand. Emlyn Coal Processing of Minn., LLC v. Xinergy Corp.,

No. 6:09-CV-128-HAI, 2011 WL 1988249, at *1 (E.D. Ky. May 19, 2011) (no inconvenience or

unfairness in remanding when all necessary parties would remain parties in state court). Likewise,

nothing in the parties’ briefs or the record indicates that remand would cause inconvenience. Thus,

this factor also weighs in favor or remand. Third, remand serves the interest of fairness. Ali would

not be prejudiced if the Court remands the case to the forum that he chose, and the Court can

discern no prejudice to Weckman. Kinser v. Logan Cty. Sch. Dist., No. 1:13-CV-00186-GNS,

2015 WL 3549843, at *3 (W.D. Ky. June 4, 2015). Finally, the defamation and IIED claims arise

under state law and are thus better decided by the state court. Anderson v. Bd. of Educ. of Fayette

Cty., 616 F. Supp. 2d 662, 671 (E.D. Ky. 2009). Comity to state courts is a substantial interest

that carries a strong presumption against the exercise of supplemental jurisdiction once federal

claims have been dismissed. Moon v. Harrison Piping Supply, 465 F.3d 719, 728 (6th Cir. 2006).

       Accordingly, all four Carnegie-Mellon factors weigh in favor of remand, and the Court

will remand Ali’s claims against Weckman to Jefferson County Circuit Court.

                                         CONCLUSION

       Having thus considered the parties’ filings and the applicable law, and being otherwise

sufficiently advised, the Court HEREBY ORDERS AS FOLLOWS:

       (1) The University of Louisville’s, Dr. Marcia Hern’s, and Dr. Angela Calloway’s First

Motion to Dismiss [DE 7] is DENIED AS MOOT;

       (2) Katherine Weckman’s First Motion to Dismiss [DE 10] is DENIED AS MOOT;

       (3) The University of Louisville’s, Dr. Marcia Hern’s, and Dr. Angela Calloway’s Second



                                                19
Case 3:17-cv-00638-RGJ Document 41 Filed 02/11/19 Page 20 of 20 PageID #: 416




Motion to Dismiss [DE 34] is GRANTED. Ali’s claims against the University of Louisville, Dr.

Marcia Hern, and Dr. Angela Calloway are DISMISSED WITH PREJUDICE;

       (4) Katherine Weckman’s Second Motion to Dismiss [DE 36] is DENIED AS MOOT;

       (5) Ali’s Defamation and IIED claims against Weckman are DISMISSED WITHOUT

PREJUDICE, and the case is REMANDED to Jefferson County Circuit Court; and

       (6) The action is STRICKEN from the active docket of this Court.




                                                       February 11, 2019




Cc:    Counsel of record




                                             20
